             Case 2:07-cr-00248-WBS Document 1052 Filed 03/05/12 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   LAW OFFICE OF JOHN R. MANNING
 2
     1111 “H” Street, Suite 204
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 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     SOPHIA SANCHEZ
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                      )       CR NO. S-07-0248-24 WBS
10
                                                    )
                                                    )
11          Plaintiff,                              )       ORDER CONTINUING SENTENCING
                                                    )
12
     v.                                             )       Date: May 7, 2012
                                                    )       Time: 9:30 a.m.
13
     SOPHIA SANCHEZ,                                )       Judge: Hon. William B. Shubb
                                                    )
14
                                                    )
            Defendant.                              )
15
                                                    )
                                                    )
16
                                                    )
17
     The parties hereby stipulate the following:
18
            1. Judgment and sentencing in this matter is presently set for March 12, 2012. Counsel
19
                for the parties requests that the date for judgment and sentencing be continued to
20
                May 7, 2012 at 9:30am.
21
            2. The parties requests that the court adopt the following schedule pertaining to the
22
                presentence report:
23
                Judgment and Sentencing date:                                     5/7/12
24
                Reply, or Statement of Non-Opposition:                            4/30/12
25

26              Motion for Correction of the Presentence Report
                Shall be filed with the Court and served on the
27              Probation Officer and opposing counsel no later than:             4/23/12
28




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            Case 2:07-cr-00248-WBS Document 1052 Filed 03/05/12 Page 2 of 3


              The Presentence Report shall be filed with the Court
 1
              And disclosed to counsel no later than:                       4/16/12
 2
              Counsel’s written objections to the Presentence Report
 3            Shall be delivered to the probation officer and opposing
              Counsel no later than:                                        4/9/12
 4

 5            The proposed Presentence Report shall be disclosed to
              Counsel no later than:                                        n/a
 6

 7
     Dated: March 1, 2012                                      /s/ John R. Manning
 8                                                            JOHN R. MANNING
                                                              Attorney for defendant
 9                                                            Sophia Sanchez
10

11                                                            Benjamin B. Wagner
                                                              United States Attorney
12

13   Dated: March 1, 2012                                      /s/ William Wong
                                                              WILLIAM WONG
14                                                            Assistant United States Attorney
15

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             Case 2:07-cr-00248-WBS Document 1052 Filed 03/05/12 Page 3 of 3


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 9
     UNITED STATES OF AMERICA,                      ) CR NO. S-07-0248 WBS
10                                                  )
                                                    )
            Plaintiff,                              ) ORDER CONTINUING SENTENCING
11
                                                    )
12   v.                                             )
                                                    )
13   SOPHIA SANCEZ,                                 )
                                                    )
14                                                  )
            Defendant.                              )
15                                                  )
                                                    )
16                                                  )

17

18
            GOOD CAUSE APPEARING, it is hereby ordered that the date for the judgment and
19
     sentence of defendant Sophia Sanchez be continued from March 12, 2012 to May 7, 2012. The
20

21
     court hereby adopts the schedule concerning the presentence report as stipulated to by the parties

22   and set forth herein.
23

24

25   DATED: March 2, 2012
26

27

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                                                     3
